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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

ROBERT T. BROCKMAN,                §
                                   §
          Plaintiff,               §
                                   §
          v.                       §     Civil Action No. 4:22-cv-00202-GCH
                                   §
UNITED STATES OF AMERICA,          §
                                   §
          Defendant.               §


 PLAINTIFF’S THIRD SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
MOTION FOR DETERMINATION ON COMPLAINT FOR JUDICIAL REVIEW
           AND ABATEMENT OF JEOPARDY ASSESSMENT


      Expedited Time Limits Apply By Statute – See 26 U.S.C. § 7429(b)(3)
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                                      INTRODUCTION

       The sole issue in this matter is whether the government can prove that Robert T.

Brockman is “designing quickly” to move assets outside of the reach of the government,

rendering them unavailable for collection should the government someday establish that he

failed to report all of his income.

       Mr. Brockman died on August 5.

       The jeopardy assessment and jeopardy levy at issue in this matter were served on

Mr. Brockman in September 2021. The IRS subsequently seized funds from accounts

belonging to both Mr. Brockman and his wife, Dorothy Brockman, and placed liens on real

property in their names. Nonetheless, knowing that the IRS was seizing their assets

elsewhere, the Brockmans left over $27 million in accounts at a bank in Houston, where the

funds remained until the IRS ultimately seized those accounts eight months after the

jeopardy assessment and jeopardy levy issued.

       This conduct is the antithesis of “designing quickly” to move assets outside the

reach of the government.

                                 SUPPLEMENTAL FACTS

       The government has persistently argued that certain real estate transactions engaged

in by Mr. Brockman’s now-widow, Dorothy Brockman, should be viewed as acts by Mr.

Brockman to move assets outside the reach of the government. See, e.g., Dkt. No. 11, Ex. 3

at 2, 52; No. 21 at 53–58; compare Dkt. No. 54 at 14 with Dkt. No. 35 at 6–11 and n.6; No.

41 at 3; No. 53 at 8. During the August 3, 2022 hearing on Mr. Brockman’s motion to

abate the jeopardy assessment and release the jeopardy levy, the government contended
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that the IRS did not know where the proceeds from the real property sales had gone, see

Aug. 3, 2022 Tr. at 16:3-8, and speculated that “it is not unlikely that funds could have

been moved offshore,” citing to Mr. Brockman’s now-closed accounts at Amegy Bank. Id.

at 16:22-17:1. The Court allowed Mr. Brockman additional time to supplement the record

on these points. Dkt. No. 63 (Minute Order).

       As detailed below:

       (1) the proceeds from the real property sales cited by the government were paid into

personal bank accounts in either Mr. Brockman’s or Mrs. Brockman’s name at either

Amegy Bank or Wallis Bank;

       (2) accounts held by the Brockmans at Amegy Bank were closed at the insistence of

the bank following Mr. Brockman’s indictment;

       (3) the funds from the Brockmans’ Amegy Bank accounts were transferred to new

accounts at Wallis Bank in Houston in early 2021; and

       (4) on May 6, 2022, over sixteen months after the Brockmans placed millions of

dollars into accounts at Wallis Bank in their own names, and eight months after the IRS’s

issuance of the jeopardy assessment, the IRS seized over $27 million from the Wallis Bank

accounts.




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      A.     The Brockmans Left More Than $27 Million In Their Bank Accounts In
             Houston For Over Eight Months After The Issuance Of The Jeopardy
             Assessment And Jeopardy Levy, Until Those Funds Were Seized By The
             IRS.

      After Mr. Brockman was indicted in October 2020, Amegy Bank informed the

Brockmans that the bank would be closing their accounts. D. Brockman Decl. at ¶ 2.1 The

Brockmans transferred their accounts to Wallis Bank, a bank located in Houston. As

examples, a bank statement for Mrs. Brockman’s personal account at Wallis Bank shows

the transfer of her personal funds from Amegy Bank to Wallis Bank, and a bank statement

for Mrs. Brockman’s personal account at Amegy Bank shows the same transfer.2 D.

Brockman Decl. at ¶ 4 and Ex. 1.

      In total, the Brockmans had six accounts at Wallis Bank during 2021 and 2022.

Four accounts were opened in January 2021—a joint checking account, a joint money

market account, and separate bank accounts for each of them. A fifth account was opened

in Mr. Brockman’s name to receive the proceeds from the sale of the Lot 16 Property in




1
  Bank records submitted with the declaration of Dorothy Brockman have been redacted in
compliance with Federal Rule of Civil Procedure 5.2, as well as to show only relevant
transactions.
2
  The government has also questioned the disposition of funds held at a now-closed Wells
Fargo account. Aug. 3, 2022 Tr. at 16:22-17:1. In July 2021, Wells Fargo Asset
Management notified the Brockmans that funds held by it would be “rebranded” as
Allspring Funds. The bank required that existing accounts be closed, and that funds be
transferred to Allspring Funds, which was done later in 2021. D. Brockman Decl. at ¶ 11
and Ex. 8. Although the investments have decreased in value, no withdrawals have been
made, and the funds remain at Allspring today. D. Brockman Decl. at ¶ 11.

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Colorado,3 and a sixth account was opened personally by Mrs. Brockman. D. Brockman

Decl. at ¶ 6.

       By two letters dated March 24, 2022, Wallis Bank separately informed Mr.

Brockman and Dorothy Brockman that the IRS had issued levies on all six accounts. The

two Wallis Bank letters specifically identified the six accounts and the then-current

balances, which totaled $27,017,293. D. Brockman Decl. at ¶ 7 and Exs. 3–4.

       On May 6, 2022, the IRS seized the funds in all six accounts, which by then totaled

$27,020,546.54. Keneally August 12, 2022 Decl. at ¶ 2, Ex. A.4 The transcript maintained

by the IRS for Mr. Brockman’s account sets out this seizure of $27,020,546.54 on May 6,




3
 The sale of real property identified as Lot 16, located in Rio Blanco County, Colorado (the
“Lot 16 Property”), is discussed more fully below. This transaction was first raised by the
government on July 22, 2022, in United States’ Response to Plaintiff’s Second
Supplemental Memorandum (1) in Support of Motion for Determination on Complaint for
Judicial Review and Abatement of Jeopardy Assessment and Abatement of Jeopardy
Assessment and Jeopardy Levy or (2) in the Alternative, for a Stay of IRS Collection
(“Government’s Response to Second Supplemental Memorandum”), see Dkt. No. 54 at 11-
14, and was fully explained in Plaintiff’s Reply in Support of Supplemental Memorandum
(1) for Determination on Complaint for Judicial Review and Abatement of Jeopardy
Assessment and Abatement of Jeopardy Assessment and Jeopardy Levy or (2) in the
Alternative, for a Stay of IRS Collection, filed on July 27, 2022 (“Plaintiff’s Second
Supplemental Reply”). See Dkt. No. 55 at 11-12, No. 55-1, Exs. A-E.
4
 As the IRS seized funds from the Brockmans, it attributed those funds to 2004, the earliest
of the tax years for which the IRS contends taxes are due. Attached as Ex. A to the August
12, 2022 Declaration of Kathryn Keneally, submitted herewith, is a copy of a transcript of
the IRS’s account for Mr. Brockman, showing the IRS’s collection activities to date. The
IRS transcript has been redacted in compliance with Federal Rule of Civil Procedure 5.2, as
well as to show only relevant transactions.


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2022, and also shows 21 additional seizures of funds in 2021 and 2022 totaling another

$8,987,610.69.

       The availability of over $27 million in the Wallis Bank accounts—plus the

additional funds of nearly $9 million in other accounts held by the Brockmans in their own

names—for seizure by the IRS wholly undercuts the IRS’s contention that Mr. Brockman

was “designing quickly” to defeat collection.

       B.     The Proceeds Of The Three Real Property Sales Cited By The
              Government Were Deposited Either Into An Amegy Account That Was
              Transferred To Wallis Bank, Or Directly Into Subsequently Seized
              Accounts At Wallis Bank.

       In its Jeopardy Recommendation Report, and in the government’s filings in this

action, the government cited to Mrs. Brockman’s sale of a vacant lot at 335 West Friar

Tuck Lane in Houston, next to the Brockman’s prior residence, and to her sale of a

townhouse located at 1731 Sunset Boulevard, also in Houston. See, e.g., Dkt. No. 11, Ex. 3

at 2, 52; No. 21 at 54; compare Dkt. No. 54 at 14 with Dkt. No. 53 at 8.

       Both transactions involved properties owned solely by Mrs. Brockman. The real

property listings and sales were public and readily traceable. See Dkt. No. 10 at 2–3, 5–12;

No. 35 at 6–11; No. 41 at 3; No. 53 at 8; No. 55 at 7–8.

       During argument on this motion before the Court on August 3, 2021, the

government cited again to these two sales of properties, contending that the IRS did not

know where the proceeds from these sales had gone. See Aug. 3, 2022 Tr. at 16:3-8. In

response, counsel for Mr. Brockman noted that substantial sums—well in excess of the real

property transactions at issue—were seized by the IRS from accounts at Wallis Bank. Id.


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at 36:9-37:1. A review of the records and the declaration of Dorothy Brockman, submitted

herewith, establishes that proceeds from these two real property sales were deposited into

accounts in her name at Amegy Bank and Wallis Bank. As previously discussed, at the

insistence of Amegy Bank, the Brockmans closed their accounts at that bank, and opened

new accounts at Wallis Bank.

      Specifically:

      •      A bank statement for Mrs. Brockman’s personal account at Amegy Bank

shows a deposit of $3,798,006.92 on December 11, 2020, in connection with the sale of the

vacant lot at 335 West Friar Tuck Lane. D. Brockman Decl. at ¶ 8 and Ex. 5.

      •      Bank statements for Mrs. Brockman’s personal accounts at Amegy Bank and

Wallis Bank show the transfer of $11 million—well in excess of the proceeds from the sale

of 335 West Friar Tuck Lane lot—from her account at Amegy Bank into her account at

Wallis Bank. D. Brockman Decl. at ¶¶ 4–5 and Exs. 1–2.

      •      A bank statement for Mrs. Brockman’s personal account at Wallis Bank

shows a deposit of $1,202,598.58 on May 11, 2021, in connection with the sale of the

townhouse at 1731 Sunset Boulevard. D. Brockman Decl. at ¶ 9 and Ex. 6.

      •      Correspondence from Wallis Bank and the IRS transcript of Mr. Brockman’s

account establish that the IRS seized in excess of $27 million from the Brockmans’

accounts at Wallis Bank—again a sum far in excess of the proceeds of Mrs. Brockman’s

two property sales.

      The government’s citation to sale of the Lot 16 Property in Colorado is similarly

unavailing as a basis to justify the IRS’s jeopardy assessment. In the Government’s
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Response to Second Supplemental Memorandum, the government contended that “[t]he

IRS has been unable to determine what happened to the proceeds from this property sale.”

Dkt. No. 54 at 13. Bank records previously submitted in support of Plaintiff’s Second

Supplemental Reply, however, clearly established that the proceeds from this sale were

paid into a personal account in Mr. Brockman’s name at Wallis Bank in Houston. See Dkt.

No. 55 at 11–12, No. 55-1, Exs. A–B; see also D. Brockman Decl. at ¶ 10 and Ex. 7.

Those funds fully remained in Mr. Brockman’s Wallis Bank account until they were seized

by the IRS. See D. Brockman Decl. at ¶ 10; see also Dkt. No. 55 at 11–12, No. 55-1, Exs.

C–E.

                                       ARGUMENT

        The IRS cannot base a jeopardy assessment on speculation. Pircher v. United

States, No. 08-0835, 2008 U.S. Dist. LEXIS 101021, *9 (W.D. Tex. 2008) (concluding

even speculation “[t]hat . . . may be well-grounded” is insufficient for the government to

sustain its burden); Johnson v. United States, No. 92-15, 1993 U.S. Dist. LEXIS 2489, *7–

8 (M.D. Ga. 1993) (jeopardy assessment unreasonable when largely “based on conjecture

. . . .”); see also Dkt. No. 10 at 10–12; No. 35 at 12–13. The IRS’s actions in seizing and

levying against assets cannot be sustained when the facts disprove the IRS’s view that a

taxpayer is “designing quickly” to move assets. See Burd v. United States, 774 F. Supp.

903, 907 (D.N.J. 1991) (abating jeopardy assessment when an investigation established a

lack of basis for the IRS’s contentions); Hirschhorn, 662 F. Supp. 887, 890–92 (S.D.N.Y.

1987) (same); see Dkt. No. 10 at 10–12; No. 35 at 10–11; No. 53 at 9; No. 55 at 6–7.



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      A.     The Government Cannot Rely On Mrs. Brockman’s Real Property Sales
             Or The Lot 16 Sale To Support The Jeopardy Assessment And Jeopardy
             Levy.

      The government cannot rely on Mrs. Brockman’s real property transactions to

support the jeopardy assessment and jeopardy levy. The transactions were undertaken in

the ordinary course of Mrs. Brockman’s life, allowing her to move closer to her son and

daughter-in-law as she prepared for the death of her husband of 54 years and the birth of

her two grandchildren. See Dkt. No. 10 at 5–7; No. 35 at 9; No. 54 at 11.

      Moreover, as the bank records and the IRS transcript show, the proceeds from the

two properties that she sold—335 West Friar Tuck Lane and 1731 Sunset Boulevard—as

well as the proceeds from the Lot 16 property, were not dissipated or moved outside the

reach of the government. Rather, Mrs. Brockman deposited the proceeds from the sale of

her properties into bank accounts in Houston in her name. D. Brockman Decl. at ¶¶ 6, 8–

10 and Exs. 5–7. While not every penny has been traced, as Mrs. Brockman

understandably may have used some funds for routine and necessary expenses, funds far in

excess of the proceeds of these sales were in the Wallis Bank accounts when the IRS

executed its levies. D. Brockman Decl. at ¶ 7 and Exs. 3–4.

      Nor can the government rely on the sale of the Lot 16 Property to support the IRS’s

actions. The proceeds from that sale were deposited into Mr. Brockman’s personal account

at Wallis Bank, where they were available for seizure and were in fact seized by the IRS.

D. Brockman Decl. at ¶¶ 6, 10 and Ex. 7; see also Dkt. No. 55 at 11–12; No. 55-1, Exs. A–

E.



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       More precisely, the Brockmans were put on notice of the IRS’s collection activities

in September 2021, and nonetheless had over $27 million on deposit in their names in

accounts at a bank in Houston for over six months before the IRS executed the levies in

March 2022, and nearly eight months before the IRS seized the funds in May 2022.

       Instead of moving assets beyond the reach of the government, Mr. Brockman

properly sought recourse before this Court. See, e.g., Clark v. Campbell, 501 F.2d 108, 110

(5th Cir. 1974) (IRC § 7429(b) is the sole safeguard for a taxpayer to seek abatement of a

jeopardy assessment and release of a jeopardy levy); Burd, 774 F. Supp. at 905 (“Realizing

the drastic nature of this proceeding, Congress concluded that the taxpayer should be able

to obtain immediate judicial review of the propriety of the jeopardy assessment.”); Modern

Bookkeeping, Inc. v. United States, 854 F. Supp. 475, 477 (E.D. Mich. 1994)(same).

       B.     The Government Has Failed To Show Any Basis To Sustain The
              Jeopardy Assessment And Jeopardy Levy.

       The government has had ample opportunity to offer some reason to sustain the

jeopardy assessment, but has failed in all of its efforts.

       The government’s contentions concerning proceedings in Bermuda have been

disproven by orders issued by the Bermuda courts months prior to the issuance of the

jeopardy assessment.5 See Burd, 774 F. Supp. at 907) (abating jeopardy assessment on




5
 See, e.g., Dkt. No. 10 at 12–16, 23–24; No. 10-1, Ex. 16 at ¶¶ 4, 23–25, 59; No. 10-1, Ex.
17 at 2 (preamble) and ¶ 2; No. 35 at 18–24; No. 35-1, Ex. 2 at 7, ¶ 27(2); No. 41 at 3–5;
No. 53 at 5–6; No. 55 at 20–22; compare Dkt. No. 21 at 71–72, with Dkt. No. 21, Gov’t
Ex. 5 (cited in Dkt. No. 21 at 72 n.292) and Gov’t Ex. 26 at ¶¶ 9, 13 (cited in Dkt. No. 21 at
71 n.289).

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finding that “[i]f the IRS had conducted a simple investigation there would have been

absolutely no basis for the jeopardy assessment”).

       The government’s extensive discussion of the investigation and indictment in United

States v. Brockman, Cr. No. 4:21-cr-0009-GCH (S.D. Tex.) offers no allegation of recent

acts, or indeed of any acts later than 2018.6 See Fumo v. United States, No. 13-3313, 2014

WL 2547797, at *77 and *87 n.18 (E.D. Pa. June 5, 2014) (finding that actions must

“actually [be] occurring quickly” and that “prior illegal activity . . . is not adequate to show

that a taxpayer is or appears to be designing quickly to place assets beyond the reach of the

government”).

       And the government learned of myriad other transactions to which it would cite,

including Mr. Brockman’s sale of a 1% interest in a company, Dorothy Brockman’s real

property gift to her daughter-in-law, and various securities and banking transactions, from

disclosures made to the IRS by or on behalf of Mr. Brockman—hardly the conduct of

someone trying to hide assets from the government.7 See id., 2014 U.S. Dist. LEXIS

77082, at *64 (“Filing forms with the IRS concerning [transfers of] particular properties

undermines any notion of a plan to hide assets from . . . the IRS.”) (internal quotations

omitted); Lindholm v. United States, 808 F. Supp. 3, 6 (D.D.C. 1992) (rejecting jeopardy




6
 See, e.g., Dkt. No. 21 at 7–47, 59–63; No. 34; No. 35 at 14–16; No. 41 at 4; No. 54 at 9–
10; No. 55 at 3.
7
 Compare Dkt. No. 10 at 5–12, 23–24, with Dkt. No. 35 at 18–24; No. 41 at 4–5; see No.
53 at 9–10; No. 55 at 2.
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and concluding that “despite the complexity with which plaintiff arranged his assets, he

apparently did not ‘hide’ them”). See generally IRC § 7429.

       Thus the government’s only remaining contention is that a jeopardy assessment may

be based on the IRS’s speculation—without more—that the proceeds from the real property

transactions and the closing of Amegy Bank accounts may have resulted in the dissipation

of assets. The facts, however, disprove this bare speculation. The proceeds from the real

property transactions were deposited either into the Amegy or Wallis accounts, and the

balances of the closed Amegy accounts were deposited into the Brockmans’ accounts at

Wallis Bank. Not only were substantial funds not moved outside the reach of the

government, over $27 million sat in accounts in the Brockmans’ names at Wallis Bank in

Houston for months following the issuance of the jeopardy assessment and jeopardy levy,

where they were found and seized by the IRS.

       Regardless of whether the IRS may have initially acted in good faith, the

government cannot continue to seize and lien against assets in the absence of support for

the IRS’s actions. It is time that the jeopardy assessment be abated, and the jeopardy levy

released.




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                                     CONCLUSION

      For the foregoing reasons, and for the reasons set forth in Mr. Brockman’s previous

filings, the jeopardy assessment should be abated and the jeopardy levy should be released.

In the alternative, and at a minimum, IRS collection actions should be stayed.


Dated: August 12, 2022                       /s/ Jason S. Varnado
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                             CERTIFICATE OF SERVICE

       I certify that on the 12th day of August, 2022, I electronically served this document

on all counsel of record.


                                                        /s/ Michael J. Scarduzio s
                                                        Michael J. Scarduzio




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